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 4   Attorney for Defendant
     VIRGIL SANTA
 5
 6
 7             IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                )       Case No: 2:08-CR-0468-KJM
                                              )
11
                         Plaintiff,           )       STIPULATION AND ORDER
12                                            )       TO MODIFY RELEASE
13                v.                          )       CONDITIONS OF DEFENDANT
                                              )       VIRGIL SANTA
14   VIRGIL SANTA, et al,                     )
15                                            )
                         Defendant.           )
16
                                              )
17
18
           Defendant, Virgil Santa, through his counsel John Balazs, and the United
19
20   States, through its counsel, Assistant U.S. Attorney Matthew Segal, hereby agree
21
     and request that the Court modify the conditions of Mr. Santa’s pretrial release as
22
23   set forth below. U.S. Pretrial Services Officer Taifa Gaskins informed counsel
24
     that their office has no objection to this request.
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26
           On March 24, 2008, Mr. Santa made an initial appearance and was released

27   by the court on a $100,000 unsecured bond with pretrial services supervision. On
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 1   March 25, 2008, Mr. Santa surrendered his passport to the Clerk’s Office pursuant
 2   to his release order.
 3
            On November 14, 2012, Mr. Santa’s remaining co-defendant, Maria Santa,
 4
 5   pled guilty pursuant to a plea agreement which calls for all charges against Virgil
 6
     Santa to be dismissed at the time of Mrs. Santa’s sentencing. In light of the
 7
 8   expected dismissal, the parties agree that continued pretrial services supervision is
 9
     unnecessary. As a result, the parties agree that defendant Virgil Santa’s conditions
10
11   of release be modified to read as follows:
12          1.    The defendant shall not commit any offense in violation of federal,
13
14
     state or local law while on release in this case.

15          2.    The defendant shall immediately advice the court, defense counsel
16
     and the U.S. attorney in writing of any change in address and telephone number.
17
18          3.    The defendant shall appear at all proceedings as required and shall
19
     surrender for service of any sentence imposed as directed.
20
21          4.    The defendant shall not obtain a new passport during the pendency of
22
     this case.
23
24   ///

25   ///
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     ///
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                                                  2
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 1         The $100,000 unsecured bond will remain in place and the Clerk’s Office
 2   will retain possession of Mr. Santa’s passport until further order of the Court.
 3
 4
     Dated: December 5, 2012BENJAMIN B. WAGNER
 5                              United States Attorney
 6
                               By:    /s/ MATTHEW SEGAL
 7                                    MATTHEW SEGAL
 8                                    Assistant U.S. Attorney
 9
10   Dated: December 5, 2012/s/ JOHN BALAZS
11                                JOHN BALAZS
                                  Counsel for defendant Virgil Santa
12
13
14
15
16                                         ORDER
17
18         IT IS SO ORDERED. Defendant Virgil Santa’s conditions of release are
19
     modified as set forth above.
20
21   Dated: December 5, 2012.
22
23                                                 UNITED STATES DISTRICT JUDGE
24
25
26
27
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                                               3
